Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 1 of 34

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CHAVEZ LAW OFFICES, PA,

Plaintiff,

No.

v.
ENRIQUE “KIKI” VIGIL, in his official capacity
as Sheriff of Dofia Ana County, BOARD OF COUNTY
COMMISSIONERS OF DONA ANA COUNTY,
JULIA BROWN, individually and in her official capacity
as Dofia Ana County Manager, and FERNANDO
MACTIAS, individually and in his official capacity as
Dofia Ana County Manager,

Defendants.

NOTICE OF REMOVAL
Defendants Board of County Commissioners of Dofia Ana County, Julia Brown, and
Fernando Macias, by and through counsel MYNATT MARTINEZ SPRINGER P.C. (Blaine T.
Mynatt and Damian L. Martinez) hereby give notice of removal to this Court of the civil action
filed in the Third Judicial District Court for the State of New Mexico, as Cause No. D-307-CV-
2020-01799 and, in support of this removal, state as follows:

1. On August 28, 2020, Plaintiff Chavez Law Offices brought the above action alleging 10
claims against the above-named Defendants. A copy of the Complaint is attached hereto as
“Exhibit A.”

2. The First Claim for Relief in the Complaint alleges a breach of contract and a right of
recovery; the Second Claim for Relief alleges Defendants breached their duty to act in
good faith and fair dealing; the Third Claim for Relief alleges a violation of the Unfair

Trade Practices Act (NMSA § 57-12-1 et seq.); the Fourth Claim for Relief alleges
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 2 of 34

negligence in that all Defendants owed a duty of reasonable and ordinary care in the
performance of their duties; the Fifth Claim for Relief alleges that Defendants are liable
for damages proximately caused by Defendants’ negligent misrepresentations; the Sixth
Claim for Relief alleges fraud on the part of Defendants; the Seventh Claim for Relief
alleges unconscionable trade practice; the Eighth Claim for Relief alleges civil conspiracy
by Defendants; the Ninth Claim for Relief alleges Defendants, individually or in concert
with one another, participated in activities within the meaning of 18 U.S.C. § 1961 ef seq.
(Racketeer Influenced and Corrupt Organizations Act); the Tenth Claim for Relief alleges
a violation of the Governmental Conduct Act (NMSA § 10-16-1 ef seg. (Exhibit A).
Timeliness

On August 28, 2020, Plaintiff filed its Complaint in the Third Judicial District Court.
On September 8, 2020, Counsel for Defendants obtained a court-endorsed copy of the
Complaint.
Pursuant to 28 U.S.C. Section 1446(b)(1), this Notice of Removal is timely filed.

Basis for Removal of 18 U.S.C. § 1961 Claim

. Under 28 U.S.C. Section 1331, federal district courts have original jurisdiction of all civil
actions arising under the Constitution, laws or treaties of the United States.

. Under 28 U.S.C. Section 1441, a civil action brought in a state court over which a federal
district court has original jurisdiction, may be removed by the defendants to the federal
district court.

. Because the Ninth Claim for Relief of Plaintiffs’ Complaint asserts a claim pursuant to the
federal law 18 U.S.C. § 1961, this Court has original jurisdiction over the case and removal

is proper.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 3 of 34

Supplemental Jurisdiction

9. 28 U.S.C. Section 1367(a) provides that, generally, in a civil action where the federal
district courts have original jurisdiction, they will also have supplemental jurisdiction over
all other claims sufficiently related to the claims giving original jurisdiction that they
constitute the same case or controversy.

10. Under federal case law, a claim is part of the same case or controversy if it derives from a
common nucleus of operative fact. Price v. Wolford, 608 F.3d 698, 702-03 (10th Cir. 2010).

11. Here, the Plaintiff has asserted state tort claims in Claims 1-8 and 10 of the Complaint. See
Exhibit A.

12. Each of these Claims arises from the common nucleus of operative facts giving rise to the
Ninth Claim for Relief, brought under 18 U.S.C. § 1961, and therefore are subject to the
supplemental jurisdiction of this Court.

13. Defendants, pursuant to the Local Rules for the United States District Court for the District
of New Mexico, have attached copies of all the pleadings filed in the state action hereto as
“Exhibit B.”

14. Defendants have further attached the court docket as of September 29, 2020 hereto as
“Exhibit C.”

15. Defendants have attached the Civil Cover Sheet for this removal action hereto as “Exhibit
D.”

WHEREFORE, Defendants Board of County Commissioners of Dofia Ana County, Julia
Brown, and Fernando Macias respectfully request that this matter be removed in its entirety from

New Mexico’s Third Judicial District Court to this Court for consideration.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 4 of 34

Respectfully submitted,

MYNATT MARTINEZ SPRINGER P.C.

 

La aT
New Mexico Bar No. 9471
DAMIAN L. MARTINEZ
New Mexico Bar No. 14678
P.O. Box 2699

Las Cruces, NM 88004-2699
(575) 524-8812

Attorneys for Defendants

CERTIFICATE OF SERVICE

I hereby certify that on this 6" day of October 2020, I filed the foregoing pleading
electronically through the CM/ECF system, which caused the following counsel to be served by
electronic means as more fully reflected on the Notice of Electronic Filing.

Gene N. Chavez

Chavez Law Offices, PA
1220 5" Street NW
Albuquerque, NM 87102
(505) 243-4363
gene@chavezlawoffice.com

 

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Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 5 of 34

FILED
3rd JUDICIAL DISTRICT COURT
Dona Ana County

THIRD JUDICIAL DISTRICT 8/28/2020 12:08 PM

COUNTY OF DONA ANA DAVID S. BORUNDA
STATE OF NEW MEXICO CLERK OF THE COURT

Yessenia J. Canales

CHAVEZ LAW OFFICES, PA,
a New Mexico corporation,

Plaintiff,

VS.

Case No. D-307-CV-2020-01799

ENRIQUE “KIKI” VIGIL, in his Arrieta, Manuel |.
official capacity as Sheriff of Dofia

Ana County, BOARD OF COUNTY

COMMISSIONERS OF DONA ANA

COUNTY, JULIA BROWN, individually

and in her official capacity as Dofia Ana

County Manage & FERNANDO MACIAS,

individually and in his official capacity as

Dofia Ana County Manager,

Defendants.

COMPLAINT FOR DAMAGES

PLAINTIFF, by and through its attorneys undersigned, Chavez Law Offices, PA

(Gene N. Chavez), states and alleges:

1.

Plaintiff is a New Mexico corporation in the business of providing legal
services in the state of New Mexico and at all times relevant, was duly
licensed to conduct business in New Mexico.

Upon information and belief, Defendant Enrique Vigil is a resident of
Dona Ana County, State of New Mexico.

Defendant Board of County Commissioners of Dofia Ana County is the
governing board of said county.

Defendant Julia Brown was the County Manager of Dofia Ana County,
serving under contract with the Board of County Commissioners.
Defendant Fernando Macias is the County Manager of Dona Ana County,

serving under contract with the Board of County Commissioners.

Exhibit A
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Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 6 of 34

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Jurisdiction and venue are proper in the District Court of Bernalillo

County, New Mexico, pursuant to N.M.S.A. §§ 38-3-1 (1978).

FACTS COMMON TO ALL COUNTS
Plaintiff incorporates paragraphs above in full.

On or about November 20, 2015, Defendant entered into a contract wth
the Plaintiff wherein the Plaintiff agreed to represent the Defendant in
several matters involving the Dona Ana County Sheriff’s Office, including
but not limited to: Case No. D-307-2015-02534 and Case No. D-307-
2016-00228, both filed in the Dona Ana County District Court.

Defendant entered into a contract wth the Plaintiff wherein the Plaintiff
agreed to represent the Defendant filed in the Dona Ana County District
Court. (See Exhibit A, attached).

At all times relevant, Defendant Vigil represented that he had the authority
and ability to contract Plaintiff to perform legal services on his behalf and
upon behalf of the Dona Ana County Sheriff’s Office.

In exchange for Plaintiffs representation outlined in paragraph 2,
Defendant agreed to compensate Plantiff $300.00 per hour, plus costs and
New Mexico Gross receipts taxes. (See Exhibit A, attached).

Upon conclusion of the cases, Plaintiff submitted a detailed billing
statement and invoice for the representation of one of the above referenced
cases.

In spite of Defendant’s repeated assurances that payment wail be made,

Defendant has failed to pay Plaintiff for services rendered. Defendant
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 7 of 34

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Vigil assured Plaintiff that his office would pay and that all policies and
procedures to procure said payment have been followed.
Defendant Vigil made promises that said amounts would be paid up until
the end of his term as Sheriff of Dona Ana County, through December 31,
2018 and even after.

First Claim for Relief: Breach of Contract
Plaintiff realleges paragraphs above as if set forth in full herein.
The written and oral agreements between Plaintiff and Defendants
constituted a valid and binding agreement under.
Defendants breached this contract by refusing to pay for the services
rendered.
As a result of Defendants’ breach, Plaintiff has been damaged and is
entitled to recover these damages in an amount to be proven at trial.
The acts of defendants alleged herein were willful, wanton, reckless,
and/or intentional, thereby entitling Plaintiff to an award of punitive

damages.

Second Claim for Relief: Breach of Duty of Good Faith and Fair Dealing

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on.

Plaintiff realleges above paragraphs above in full.

As alleged above, the oral and written agreements were valid, binding
contracts requiring defendants to act in good faith and deal fairly in
performance of the contract.

Defendants breached their duty of good faith and fair dealing in the

execution of these agreements.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 8 of 34

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As a result of defendants’ breach, Plaintiff has been damaged and is
entitled to recover these damages in an amount to be proven at trial.
The acts of defendants alleged herein were willful, wanton, reckless,
and/or intentional, thereby entitling Plaintiff to an award of punitive

damages.

Third Claim for Relief: Violation of the Unfair Trade Practices Act

Plaintiffs reallege paragraphs above in full.

Defendants held themselves as artists, promoters and/or agents in the
entertainment industry.

Defendants have violated the Unfair Practices Act (NMSA § 57-12-1 ef
seq.). Such violations include, but are not limited to:

a) Failure to pay for services contracted for;

b) Entering into a transaction that resulted in a gross
disparity between the value received by Plaintiff
and the price paid by Plaintiff.

Plaintiff has been damaged by Defendants’ violations, and is entitled to
recover these damages in an amount to be proven at trial, which must be
tripled in accordance with NMSA § 57-12-10(B).
In addition to these damages, Plaintiff is entitled to attorney’s fees and
costs under NMSA § 57-12-10(B).

Fourth Claim for Relief: Negligence

Plaintiff realleges paragraphs above in full.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 9 of 34

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All named Defendants owe a duty of reasonable and ordinary care to

ensure that employees, elected officials and government officials perform

their duties and follow protocol and procedures.

Defendants’ failure to perform that duty constituted a breach of that duty.

As a direct and proximate result of the Defendants’ actions, Plaintiff has

been harmed is entitled to damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and

intentional, thereby entitling Plaintiff to an award of punitive damages.
Fifth Claim for Relief: Negligent Misrepresentation

Plaintiff realleges paragraphs above in full.

Defendants are liable for damages proximately caused by Defendants’

negligent misrepresentations. Such misrepresentations include but are not

limited to:

a. deceiving Plaintiff about ability to hire Plaintiff;

b. deceiving Plaintiff about the ability to pay Plaintiff:

C. deceiving Plaintiff about the process of payment;
Defendants knew or should have known of the falsity of the
representations.

Defendants did not exercise ordinary care in obtaining or communicating
the information conveyed.

Defendants should have reasonably foreseen that Plaintiff would be
harmed if the information conveyed was incorrect or misleading.

Plaintiff justifiably relied on the information.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 10 of 34

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As a direct and proximate result of the Defendants’ actions, Plaintiff has

been harmed and is entitled to damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and

intentional, thereby entitling Plaintiffs to an award of punitive damages.

Sixth Claim for Relief: Fraud

Plaintiff realleges paragraphs above in full.

Defendants are liable for damages proximately caused by Defendants’

fraudulent misrepresentations about the contracts, the ability to hire the

Plaintiff and that proper steps and procedures were followed to pay

Plaintiff.

Defendants knew or should have known of the falsity of the

representation.

The acts of Defendants alleged herein were made with the intent to

deceive and to induce Plaintiff to rely on the representations.

Plaintiff did in fact rely on the representations during the course of the

transactions.

As a direct and proximate result of the Defendants’ actions, Plaintiff has

been harmed and is entitled to damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and

intentional, thereby entitling Plaintiffs to an award of punitive damages.
Seventh Claim for Relief: Unconscionable Trade Practice

Plaintiff realleges paragraphs above in full.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 11 of 34

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As stated previously, Defendants received a benefit while Plaintiff
received none;
A gross disparity between the value received by the Plaintiff and the price
paid occurred as a result of Defendants’ conduct.
As a result of Defendants’ conduct, Plaintiff has been harmed and is
entitled to damages in an amount to be proven at trial.
Plaintiff has been damaged by defendants’ violations and is entitled to
recover those damages in an amount to be proven at trial, which must be
tripled in accordance with N.M. Stat. § 57-12-10(C).
In addition to these damages, Plaintiff is entitled to attorney’s fees and
costs under N.M. Stat. § 57-12-10(C).

Eighth Claim for Relief: Civil Conspiracy
Plaintiff realleges paragraphs above in full.
A conspiracy between the Defendants existed. Defendants knew or should
have known of the existence of the agreements and its terms. Defendants
Brown and Dona Ana Board of County Commissioners were aware that
Defendant Vigil hired Plaintiff for services rendered and that he followed
proper procedures and policies to enter the agreements and pay Plaintiff.
Specific wrongful acts were carried out by the Defendants and/or between
Defendants. Such acts include, but are not limited to: breach of contract,
fraud, breach of unfair practices, concealment of funds, failure to provide
payment, failure to provide accounting, laundering of funds to other

subsidiaries and co-mingling of funds to hide records. Further, some
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 12 of 34

Defendants took actions to inhibit and hinder the action of other
Defendants.

59. Asa direct and proximate result of the Defendants’ actions, Plaintiff has
been harmed and is entitled to damages in an amount to be proven at trial.

60. The acts of Defendant alleged herein were willful, wanton, reckless and/or
intentional, thereby entitling Plaintiffs to an award of punitive damages.

Ninth Claim for Relief: 18 U.S.C. 396 Racketeer Influenced and Corruption

61. Plaintiff realleges paragraphs above in full.

62. Atleast one or more of the defendants, individually or in concert with at
least one or more of the other defendants have received a benefit, directly
or indirectly, from a pattern of racketeering activity or through refusal to
pay a lawful debt in which such person has participated as a principal
within the meaning of section 2 title 18, United States Code. (See 18
U.S.C. 1961, 18 U.S.C. 1962, 18 U.S.C. 1963, 18 U.S.C. 1964, 18 U.S.C.
1965).

Tenth Claim for Relief: Violation of the Governmental Conduct Act

63. Plaintiff realleges paragraphs above in full.

64. Defendants have violated the Violation of the Governmental Act (NMSA
§ 10-16-1 et seg.). Such violations include, but are not limited to:

a) Taking actions to prevent Defendant Vigil from
investigating Defendants Brown and other Dona Ana

County employees;
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 13 of 34

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b) Denying payment of Plaintiff's invoices when Defendant
Vigil and/or his staff properly submitted payment.

C) Taking an official position that Defendant Vigil and/or his
staff did not properly obtain authorization when they
actually did so;

d) Intentionally impairing an investigation of Defendant Vigil
because Defendants Brown, County Attorney Nelson
Goodin and others were the actual persons of interest.

Plaintiff has been damaged by Defendants’ violations, and is entitled to
recover these damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and
intentional, thereby entitling Plaintiffs to an award of punitive damages.

Conclusion

WHEREFORE, Plaintiff prays that judgment be entered in its favor, against

defendants, and grant Plaintiff the following relief:

A.

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Compensatory damages in an amount to be determined at trial, which must
be tripled in accordance with N.M. Stat. § 57-12-10(B) if awarded for
defendant’s violations of the Unfair Practices Act;

Special damages in an amount to be determined at trial;

Punitive damages;

Pre-judgment and post-judgment interest;

Enter an Order requiring all defendants to provide an accounting;

Attorney’s fees and costs; and
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 14 of 34

G. Any additional relief that this Court deems just and proper.
Respectfully submitted,

/s/ Gene N. Chavez
Gene N. Chavez
1220 5th St. NW
Albuquerque, New Mexico 87102
505-243-4363
505-217-2157-fax
gene@chavezlawoffices.com

Attorney for Plaintiff

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FILED

3rd JUDICIAL DISTRICT COURT

Dona Ana County

THIRD JUDICIAL DISTRICT 8/28/2020 12:08 PM
COUNTY OF DONA ANA DAVID S. BORUNDA
STATE OF NEW MEXICO CLERK OF THE COURT

Yessenia J. Canales

CHAVEZ LAW OFFICES, PA,
a New Mexico corporation,

Plaintiff,

VS.

ENRIQUE “KIKI” VIGIL, in his

Case No. D-307-CV-2020-01799

Arrieta, Manuel I.

official capacity as Sheriff of Dofia

Ana County, BOARD OF COUNTY
COMMISSIONERS OF DONA ANA
COUNTY, JULIA BROWN, individually
and in her official capacity as Dofia Ana
County Manage & FERNANDO MACIAS,
individually and in his official capacity as
Dofia Ana County Manager,

Defendants.

COMPLAINT FOR DAMAGES

PLAINTIFF, by and through its attomeys undersigned, Chavez Law Offices, PA

(Gene N. Chavez), states and alleges:

1.

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Plaintiff is a New Mexico corporation in the business of providing legal
services in the state of New Mexico and at all times relevant, was duly
licensed to conduct business in New Mexico.

Upon information and belief, Defendant Enrique Vigil is a resident of
Dona Ana County, State of New Mexico.

Defendant Board of County Commissioners of Dofia Ana County is the
governing board of said county.

Defendant Julia Brown was the County Manager of Dofia Ana County,
serving under contract with the Board of County Commissioners.
Defendant Fernando Macias is the County Manager of Dona Ana County,

serving under contract with the Board of County Commissioners.

Exhibit B
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Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 16 of 34

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Jurisdiction and venue are proper in the District Court of Bernalillo
County, New Mexico, pursuant to N.M.S.A. §§ 38-3-1 ( 1978).

FACTS COMMON TO ALL COUNTS
Plaintiff incorporates paragraphs above in full.

On or about November 20, 2015, Defendant entered into a contract wth
the Plaintiff wherein the Plaintiff agreed to represent the Defendant in
several matters involving the Dona Ana County Sheriff’s Office, including
but not limited to: Case No. D-307-2015-02534 and Case No. D-307-
2016-00228, both filed in the Dona Ana County District Court.

Defendant entered into a contract wth the Plaintiff wherein the Plaintiff
agreed to represent the Defendant filed in the Dona Ana County District
Court. (See Exhibit A, attached).

At all times relevant, Defendant Vigil represented that he had the authority
and ability to contract Plaintiff to perform legal services on his behalf and
upon behalf of the Dona Ana County Sheriff’s Office.

In exchange for Plaintiff's representation outlined in paragraph 2,
Defendant agreed to compensate Plantiff $300.00 per hour, plus costs and
New Mexico Gross receipts taxes. (See Exhibit A, attached).

Upon conclusion of the cases, Plaintiff submitted a detailed billing
statement and invoice for the representation of one of the above referenced
cases.

In spite of Defendant’s repeated assurances that payment — be made,

Defendant has failed to pay Plaintiff for services rendered. Defendant
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 17 of 34

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Vigil assured Plaintiff that his office would pay and that all policies and
procedures to procure said payment have been followed.
Defendant Vigil made promises that said amounts would be paid up until
the end of his term as Sheriff of Dona Ana County, through December 31,
2018 and even after.

First Claim for Relief: Breach of Contract
Plaintiff realleges paragraphs above as if set forth in full herein.
The written and oral agreements between Plaintiff and Defendants
constituted a valid and binding agreement under.
Defendants breached this contract by refusing to pay for the services
rendered.
As a result of Defendants’ breach, Plaintiff has been damaged and is
entitled to recover these damages in an amount to be proven at trial.
The acts of defendants alleged herein were willful, wanton, reckless,
and/or intentional, thereby entitling Plaintiff to an award of punitive

damages.

Second Claim for Relief: Breach of Duty of Good Faith and Fair Dealing

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22.

Plaintiff realleges above paragraphs above in full.

As alleged above, the oral and written agreements were valid, binding
contracts requiring defendants to act in good faith and deal fairly in
performance of the contract.

Defendants breached their duty of good faith and fair dealing in the

execution of these agreements.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 18 of 34

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As a result of defendants’ breach, Plaintiff has been damaged and is
entitled to recover these damages in an amount to be proven at trial.
The acts of defendants alleged herein were willful, wanton, reckless,
and/or intentional, thereby entitling Plaintiff to an award of punitive

damages.

Third Claim for Relief: Violation of the Unfair Trade Practices Act

Plaintiffs reallege paragraphs above in full.

Defendants held themselves as artists, promoters and/or agents in the
entertainment industry.

Defendants have violated the Unfair Practices Act (NMSA § 57-12-1 ef
seq.). Such violations include, but are not limited to:

a) Failure to pay for services contracted for;

b) Entering into a transaction that resulted in a gross
disparity between the value received by Plaintiff
and the price paid by Plaintiff.

Plaintiff has been damaged by Defendants’ violations, and is entitled to
recover these damages in an amount to be proven at trial, which must be
tripled in accordance with NMSA § 57-12-10(B).
In addition to these damages, Plaintiff is entitled to attorney’s fees and
costs under NMSA § 57-12-10(B).

Fourth Claim for Relief: Negligence

Plaintiff realleges paragraphs above in full.
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All named Defendants owe a duty of reasonable and ordinary care to

ensure that employees, elected officials and government officials perform

their duties and follow protocol and procedures.

Defendants’ failure to perform that duty constituted a breach of that duty.

As a direct and proximate result of the Defendants’ actions, Plaintiff has

been harmed is entitled to damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and

intentional, thereby entitling Plaintiff to an award of punitive damages.
Fifth Claim for Relief: Negligent Misrepresentation

Plaintiff realleges paragraphs above in full.

Defendants are liable for damages proximately caused by Defendants’

negligent misrepresentations. Such misrepresentations include but are not

limited to:

a. deceiving Plaintiff about ability to hire Plaintiff;

b. deceiving Plaintiff about the ability to pay Plaintiff:

Cc. deceiving Plaintiff about the process of payment;
Defendants knew or should have known of the falsity of the
representations.

Defendants did not exercise ordinary care in obtaining or communicating
the inform ation conveyed.

Defendants should have reasonably foreseen that Plaintiff would be
harmed if the information conveyed was incorrect or misleading.

Plaintiff justifiably relied on the information.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 20 of 34

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As a direct and proximate result of the Defendants’ actions, Plaintiff has

been harmed and is entitled to damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and

intentional, thereby entitling Plaintiffs to an award of punitive damages.

Sixth Claim for Relief: Fraud

Plaintiff realleges paragraphs above in full.

Defendants are liable for damages proximately caused by Defendants’

fraudulent misrepresentations about the contracts, the ability to hire the

Plaintiff and that proper steps and procedures were followed to pay

Plaintiff.

Defendants knew or should have known of the falsity of the

representation.

The acts of Defendants alleged herein were made with the intent to

deceive and to induce Plaintiff to rely on the representations.

Plaintiff did in fact rely on the representations during the course of the

transactions.

As a direct and proximate result of the Defendants’ actions, Plaintiff has

been harmed and is entitled to damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and

intentional, thereby entitling Plaintiffs to an award of punitive damages.
Seventh Claim for Relief: Unconscionable Trade Practice

Plaintiff realleges paragraphs above in full.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 21 of 34

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As stated previously, Defendants received a benefit while Plaintiff
received none;
A gross disparity between the value received by the Plaintiff and the price
paid occurred as a result of Defendants’ conduct.
As a result of Defendants’ conduct, Plaintiff has been harmed and is
entitled to damages in an amount to be proven at trial.
Plaintiff has been damaged by defendants’ violations and is entitled to
recover those damages in an amount to be proven at trial, which must be
tripled in accordance with N.M. Stat. § 57-12-10(C).
In addition to these damages, Plaintiff is entitled to attorney’s fees and
costs under N.M. Stat. § 57-12-10(C).

Eighth Claim for Relief: Civil Conspiracy
Plaintiff realleges paragraphs above in full.
A conspiracy between the Defendants existed. Defendants knew or should
have known of the existence of the agreements and its terms. Defendants
Brown and Dona Ana Board of County Commissioners were aware that
Defendant Vigil hired Plaintiff for services rendered and that he followed
proper procedures and policies to enter the agreements and pay Plaintiff.
Specific wrongful acts were carried out by the Defendants and/or between
Defendants. Such acts include, but are not limited to: breach of contract,
fraud, breach of unfair practices, concealment of funds, failure to provide
payment, failure to provide accounting, laundering of funds to other

subsidiaries and co-mingling of funds to hide records. Further, some
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Defendants took actions to inhibit and hinder the action of other
Defendants.

59. Asa direct and proximate result of the Defendants’ actions, Plaintiff has
been harmed and is entitled to damages in an amount to be proven at trial.

60. The acts of Defendant alleged herein were willful, wanton, reckless and/or
intentional, thereby entitling Plaintiffs to an award of punitive damages.

Ninth Claim for Relief: 18 U.S.C. 396 Racketeer Influenced and Corruption

61. Plaintiff realleges paragraphs above in full.

62. At least one or more of the defendants, individually or in concert with at
least one or more of the other defendants have received a benefit, directly
or indirectly, from a pattern of racketeering activity or through refusal to
pay a lawful debt in which such person has participated as a principal
within the meaning of section 2 title 18, United States Code. (See 18
U.S.C. 1961, 18 U.S.C. 1962, 18 U.S.C. 1963, 18 U.S.C. 1964, 18 U.S.C.
1965).

Tenth Claim for Relief: Violation of the Governmental Conduct Act

63. Plaintiff realleges paragraphs above in full.

64. Defendants have violated the Violation of the Governmental Act (NMSA
§ 10-16-1 et seq.). Such violations include, but are not limited to:

a) Taking actions to prevent Defendant Vigil from
investigating Defendants Brown and other Dona Ana

County employees;
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 23 of 34

28.

29.

b) Denying payment of Plaintiff's invoices when Defendant
Vigil and/or his staff properly submitted payment.

Cc) Taking an official position that Defendant Vigil and/or his
staff did not properly obtain authorization when they
actually did so;

d) Intentionally impairing an investigation of Defendant Vigil
because Defendants Brown, County Attomey Nelson
Goodin and others were the actual persons of interest.

Plaintiff has been damaged by Defendants’ violations, and is entitled to
recover these damages in an amount to be proven at trial.

The acts of Defendants alleged herein were willful, wanton, reckless and
intentional, thereby entitling Plaintiffs to an award of punitive damages.

Conclusion

WHEREFORE, Plaintiff prays that judgment be entered in its favor, against

defendants, and grant Plaintiff the following relief:

A.

9 Oo 8

Compensatory damages in an amount to be determined at trial, which must
be tripled in accordance with N.M. Stat. § 57-12-10(B) if awarded for
defendant’s violations of the Unfair Practices Act;

Special damages in an amount to be determined at trial;

Punitive damages;

Pre-judgment and post-judgment interest;

Enter an Order requiring all defendants to provide an accounting:

Attorney’s fees and costs; and
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 24 of 34

G. Any additional relief that this Court deems just and proper.
Respectfully submitted,

/s/ Gene N. Chavez
Gene N. Chavez
1220 5th St. NW
Albuquerque, New Mexico 87102
505-243-4363
505-217-2157-fax
gene@chavezlawoffices.com

Attorney for Plaintiff

10
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 25 of 34

FILED
3rd JUDICIAL DISTRICT COURT
Dona Ana County

STATE OF NEW MEXICO 8/28/2020 4:31 PM
BOUNTY DY DONA ANE CLERK OF THE COURT
THIRD JUDICIAL DISTRICT COURT Vesseria J. Canales
CHAVEZ LAW OFFICES PA,

Plaintiff,
V. Case No. __D-307-CV-2020-01799

Judge

ENRIQUE “Kiki” VIGIL et al, Manuel |. Arrieta

Defendants.

ORDER REQUIRING SCHEDULING REPORTS,
A DISCOVERY PLAN, EXPERT WITNESS DISCLOSURE,
AND LIMITING STIPULATIONS TO ENLARGE TIME
FOR RESPONSIVE PLEADINGS

IT IS SO ORDERED:

A. Plaintiff shall serve a copy of this order on each defendant with the summons and complaint and file
a certificate of such service. Parties other than plaintiffs who assert claims against others who have
not been served with this order shall serve a copy of this order on those against whom they assert
claims with the pleading asserting such claims and shall file a certificate of such service.

B. Within sixty (60) calendar days after the initial pleading is filed, parties of record shall file a
scheduling report with copies to opposing parties and the assigned judge. Parties shall confer and
are encouraged to file a Joint Scheduling Report, LR3-Form 2.12 NMRA for Track A or LR3-Form
2.13 for Tracks Band C, or, if they cannot agree, file an individual Scheduling Report, LR3-Form
2.13 NMRA. See copies of forms attached hereto.

C. Any party who enters an appearance in the case more than sixty (60) calendar days after the filing
of the initial pleading shall file a scheduling report within ten (10) business days and deliver a copy

to the assigned judge.

YJC
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 26 of 34

D. If all parties are not of record within sixty (60) calendar days of the filing of the initial pleading,
the party making claims against the absent parties (Plaintiff for Defendants, Third-Party Plaintiffs
for Third-Party Defendants, etc.) shall, within five (5) business days after the sixtieth (60) day,
file and serve parties ofrecord and deliver to the assigned Judge, a written explanation why the case
is not at issue and how much time is needed before the case will be at issue. The notice shall be
titled "Delay in Putting the Matter at Issue."

E. Counsel or parties who do not have attomeys may not stipulate to an enlargement of time greater
than fourteen (14) calendar days for the filing of a responsive pleading without a motion and order.
The motion shall state with particularity the reason(s) an enlargement is in the best interests of the
parties. A copy of the motion and stipulation shall be delivered to all parties as well as counsel. The
enlargement requested shall be for a specified time.

F. When all parties have been joined and the case is at issue, the parties shall immediately notify in
writing the assigned judge and the alternative dispute resolution coordinator.

G. If appropriate, the court will refer this matter to settlement facilitation under Part VI of the Local
Rules of the Third Judicial District Court.

H. Within seventy-five (75) calendar days from the date the initial pleading is filed, or fifteen (15)
calendar days after the parties alert the Court that the case is at issue, the parties shall either:

(1) stipulate to a discovery plan and file the stipulation with the court, or
(2) request a hearing to establish a discovery plan pursuant to Paragraph F of Rule 1-026

NMRA.
(3) In the absence of a stipulated discovery plan or a timely request from a party for ahearing

to establish a discovery plan, the following plan shall go into effect:

Within one hundred (I 00) calendar days after the initial pleading was filed or fifteen (15)

calendar days after a party has entered the suit, whichever is the later date, each party shall

provide to all other parties:

a. The name and, if known, the address and telephone number of each individual
likely to have discoverable information relevant to disputed issues raised by the

pleadings, identifying the subjects of the information;
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 27 of 34

b. A copy of, or a description by category and location of, all documents, data
compilations, and tangible things in the possession, custody, or control of the party
that are relevant to disputed issues raised by the pleadings:

C. A computation of any category of damages claimed by the disclosing party, providing
copies or making ayailable for inspection and copying the documents or other
evidentiary materials and medical records and opinions, not privileged or protected
from disclosure, on which such computation is based, including materials bearing on
the nature and extent of injuries suffered;

d, For inspection and copying, any insurance agreement under which any person
carrying on an insurance business may be liable to satisfy part or all of ajudgment
which may be entered in the action or to indemnify or reimburse for payments
made to satisfy the judgment;

e. If the medical condition of a party is at issue, such party shall give a medical release
authorization to opposing parties. The parties shall confer regarding the nature and
extent of the release and stipulate, if possible. If the parties cannot agree, each party
shall file amemorandum with a proposed medical release authorization advocating
that party's proposed form to the court. A copy of the memorandum and proposed
form shall be delivered to the assigned judge. Rule 1-007.1 NIMRA shall apply.

L Pursuant to Rule 1-026(E) NMRA, parties shall reasonably supplement discovery required
in Subparagraphs (3)(a) through (e) of Paragraph Hof this Order.

J. Intent to Call Expert Witness - Disclosure. All parties shall exchange a"Notice oflntent to Call
Expert Witess(es)" listing the names, addresses and phone numbers for all anticipated experts, including
a brief summary of the subject matter of each witness' testimony. If an expert has not yet been identified
by a party, the parties must list the specialized area(s) in which an expert is anticipated to be retained and

a brief summary of the areas or issues on which the expert is expected to testify.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 28 of 34

With respect to each expert listed, all parties are to observe their continuing duty totimely supplement

discovery and shall further abide by the requirements of Section 8 of the attachment to the Rule 16(B)

Scheduling Order.

Delivered to Plaintiff on Friday August 28th, 2020

  

we Or ts
DISTRICT COURT JUDGE

 

 

David S. Borunda
Clerk of the District Court

 

 
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 29 of 34

LR3-Form 2.12 Supreme Court Approved

August 6, 2004

STATE OF NEW MEXICO
COUNTY OF DONA ANA
THIRD JUDICIAL DISTRICT COURT

Plaintiff

vs.

NO.: D-307-CV

Judge:

Defendant
JOINT SCHEDULING REPORT STIPULATING TO TRACK A
Come now all the parties to this case, (by their counsel of record) and stipulate as

follows:

1

i)

The court has subject matter and personal jurisdiction, and venue is proper.
This case is appropriate for assignment to Track A

The parties do not intend to amend the pleadings or file dispositive motions

All parties will be ready for trial by (no more than six (6) months from
filing of complaint)

Witness lists will be exchanged and filed forty-five (45) days before trial

Discovery limited to interrogatories, requests for production and admission and no more
than two (2) depositions per party.

All parties and counsel will either (a) select a facilitator by agreement of the parties, or

(b) request the court's ADR coordinator to select a facilitator and will engage ina
settlement conference within ninety (90) days from the date of the filing of the complaint.
The parties may move for enlargement of time for the settlement conference for good

cause shown The parties shall share the facilitator's fee, if any, equally.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 30 of 34

8. Exhibits: exchanged at least fifteen (15) days before trial.

ThisGury__ 6__—Ss 12 nonjury ___+) matter will take hours to try.

9. Conflicting court hearings (or other conflicts which show good cause for not setting trial)

_ for two (2) months following the date the matter is ready for trial:

 

 

10. Other:

 

SUBMITTED BY:

Name of party:

 

Attomey:

 

Address:

 

 

Telephone Number

 

Name of party:
Attomey:

 

 

Address:

 

 

Telephone Number

 

CERTIFICATE OF MAILING

| HEREBY CERTIFY that | mailed, delivered or faxed a copy to the assigned judge and each
party or each party's attomey onthe__—s_ day of 520

 

Signature
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 31 of 34

LR3-Form 2.13. ( 's) Goint) scheduling report,

STATE OF NEW MEXICO
COUNTY OF DONA ANA
THIRD JUDICIAL DISTRICT COURT

, Plaintiff

VS.
NO.: D-307-CV
Judge:
, Defendant

( 'S) JOINT) SCHEDULING REPORT

1. This case should be assigned to Track

2. Jurisdiction and Venue: Stipulated; Disputed;
Why:

3 Non Jury; 6-personjury; 12-person jury.

4. Significant legal issues, if any:

 

 

5. Trial witnesses presently known (defendant's, plaintiffs, etc. ):
State experttype:

 

6 . Settlement
[I] [We] have sufficient information to evaluate the case. -
[I] [We] have provided sufficient information for opposing parties to
evaluate the case.
[I][ We] need the following information from to evaluate the

 

[1] [We] need the following discovery to obtain information sufficient to
evaluate the case:

 

Explain why such information
cannot be obtained informally without formal discovery:

 

[I] [We] have scheduled a settlement conference on o2000
with Gacilitator) or have requested the court's ADR
coordinator to refer to facilitation.

Or
[1] [We] request that this not be referred to facilitation because:

 

The possibility of settlementis_ __ zo0d. fair, poor.
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 32 of 34

7. Discovery:
[I] [We] estimate it will take months to complete discovery. (Attach discovery
plan if stipulated, or request for setting a discovery conference if wanted) If any party
requests a discovery conference, answer the following:
The party submitting this scheduling report intends to do the following discovery:

(If this is a joint scheduling report, each party shall answer this question.)
[Plaintiff] [Defendant] intends to do the following discovery:

 

 

8. [I] [We] estimate that trial will take court days to try-

9. Dates counsel will not be available for trial due to the following conflicting court settings
(beginning with the date immediately following the time you estimate discovery will be
completed).

10. Stipulations:

1 1. Other:

 

 

SUBMITTED BY:

Name of party:
Attomey:
Address:

 

 

 

 

Telephone Number

 

Name of party:
Attomey:
Address:

 

 

 

 

Telephone Number

 

CERTIFICATE OF MAILING

I HEREBY CERTIFY that I mailed, delivered or faxed a copy to the assigned judge and each party
or each party's attorney on the___—_ day of 20

 

Signature
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 33 of 34

 

D-307-CV-202001799 - Tuesday, October 6, 2020

 

Chavez Law Offices, PA
V.

Enrique Vigil, et. al.

CASE DETAIL

CASE # CURRENT JUDGE FILING DATE COURT
D-307-CV-202001799 Arrieta, Manuel I. 08/28/2020 LAS CRUCES District

PARTIES TO THIS CASE

PARTY TYPE PARTY DESCRIPTION PARTY # PARTY NAME
D Defendant 1 VIGIL ENRIQUE
D Defendant 2 BOARD OF COUNTY COMMISSIONERS OF
DONA ANA COUNTY
D Defendant 3 BROWN JULIA
D Defendant 4 MACIAS FERNANDO
P Plaintiff 1 CHAVEZ LAW OFFICES, PA

ATTORNEY: CHAVEZ GENE N.

CIVIL COMPLAINT DETAIL
COMPLAINT DATE COMPLAINT SEQ # COMPLAINT DESCRIPTION DISP DISP DATE
08/28/2020 II OPN: COMPLAINT
COA SEQ # COA DESCRIPTION

1 Tort: Property Damage Non Auto

PARTY NAME PARTY TYPE PARTY #

REGISTER OF ACTIONS ACTIVITY
EVENT DATE EVENT DESCRIPTION EVENT RESULT PARTY TYPE PARTY # AMOUNT

08/28/2020 DCM (Differentiated Case P 1

Management) Scheduling Order

Order Requiring Scheduling Reports, a Discovery Plan, Expert Witness Discolosure, and Limiting Stipulations to Enlarge time for Responsive Pleadings
08/28/2020
08/28/2020
08/28/2020
08/28/2020
08/28/2020 OPN: COMPLAINT P 1

Complaint for Damages

JUDGE ASSIGNMENT HISTORY

ASSIGNMENT DATE JUDGE NAME SEQ # ASSIGNMENT EVENT DESCRIPTION
08/28/2020 Arrieta, Manuel I. 1 INITIAL ASSIGNMENT

Exhibit C

 

Page 1

 
Case 2:20-cv-01022-KWR-KRS Document1 Filed 10/06/20 Page 34 of 34

JS 44 (Rev. 10/20) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS DEFENDANTS
Board of County Commissioners of Dona Ana County, Julia
Brown, Fernando Macias

Chavez Law Offices, PA

(b) County of Residence of First Listed Plaintiff Bernalillo County of Residence of First Listed Defendant Dona Ana
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S, PLAINTIFF CASES ONL))

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

(c) Attomeys (Firm Name, Address, and Telephone Number) Atlomeys (Jf Known)
Gene N. Chavez Blaine T. Mynatt, Damian L. Martinez
1220 5th Street NW Mynatt Martinez Springer P.C.
___Albuaueraue. NM_87102 1660 Hickorv Loon
II. BASIS OF JURISDICTION (Place an "X" in One Box Only) WI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X” in One Box for Plaintiff’
(For Diversity Cases Only) and One Box for Defendant)
O 1 U.S. Governnent [-]3 Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State C41 [| incorporated or Principal Place Ole Oa
of Business In This State
OJ 2 U.S. Goverunent []4 Diversity Citizen of Another State oO 2 oO 2 Incorporated and Principal Place Cc 5 O 5
Defendant (Indicate Citizenship of Panties in tem Ill) of Business In Another State
Citizen or Subject of a CJ 3 a 3 Foreign Nation oO 6 Lie
Foreign Country

 

 

   
  

 

 

 

 

 

 

 

 

 

 

 

 
   

 

   

 

LV. NAT URE OF SUIT lace an “X" in Or x Only, Click here for:
CONTRACT. TORTS. | FORFEITURE/PENALTY | BANKRUPTCY OTHER STATUTES]
110 Insurance PERSONAL INJURY PERSONAL INJURY [ 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _j690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability im 367 Health Care/ 400 State Reapportionment
LC] 150 Recovery of Overpayment [| 320 Assault, Libel & Pharmaceutical PROPERTY RICHTS tt "1.410 Antitrust
& Enforcement of Judgment! Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act L] 330 Federal Employers* Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability CO 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability { r | 840 Trademark Corrupt Organizations
. 153 Recovery of Overpayment Liability PERSONAL PROPERTY Scone 880 Defend Trade Secrets _] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 10 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act lags Telephone Consumer
EJ 190 Other Contract Product Liability CO 380 Other Personal |_h20 Labor/Management | SOCIAL SECURITY Protection Act
195 Contract Product Liability [| 360 Other Personal Property Damage Relations 861 HIA (1395ff) 30 Cable/Sat TV
196 Franchise Injury C 385 Property Damage -p.0 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 51 Family and Medical 863 DIWC/DIWW (405(g)) Exchange
— Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
| es REAL PR OPERTY I QVIL RGHTS P RBONE RPE TITI ONS T hoo Other Labor Litigation 865 RSI (405(g)) s 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 91 Employee Retirement 893 Environmental Matters
220 Foreclosure 441 Voting 463 Alien Detainee Income Security Act |_-EEDERAL TAX SUITS "| 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate r | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) Cs 896 Arbitration
245 Tort Product Liability Accommodations 530 General r 871 IRS —Third Party 899 Administrative Procedure
CL] 290 All Other Real Property 45 Amer. w/Disabilities - 535 Death Penalty IMMIGRATION 26 USC 7609 AcUReview or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
46 Amer. w/Disabilities - 540 Mandamus & Other 465 Other Immigration _] 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
48 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

V. ORIGIN (Place an “X" in One Box Only)

1 Original 2 Removed from 3 Remanded from 4 Reinstated or 5 Transferred from 6 Multidistrict 8 Multidistrict
O Proceeding A State Court O Appellate Court O Reopened Gi Another District O Litigation - O Litigation -
ewes (specify) Transfer Direct File

 

ite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
8 U.S. Code § 1961
VI. CAUSE OF ACTION p

tief description of cause:

 

 

 

 

 

a oe I eged violation of RICO Act by defendants. ace,
VII. REQUESTEDIN = ([] CHECK IF THISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Llyes [k]No
VII. RELATED CASE(S)
(See instructions):
IF ANY nen” ODE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
Oct6,20200 ee /s/ Blaine T. Mynatt . ee
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE _

 

Exhibit D
